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                               UNITED STATES DISTRICT COURT
                                           For The
                              MIDDLE DISTRICT OF FLORIDA
                                      (Ft. Myers Div.)

                                     Case No. 2:17-CV-FtM-99CM

MICHAEL PAPPALARDO, (An Individual)

                       (Plaintiff)

               vs.

SAMANTHA STEVINS, ESQ. (An
Individual)

                        (Defendant(s)




                            PAPPALARDO OPPOSITION
                      TO STEVINS’ MOTION TO DISMISS (ECF 17)
                          AMENDED COMPLAINT (ECF 9-1)

       The Plaintiff, Michael F. Pappalardo, (hereinafter also “PAPPALARDO” or

“INVENTOR”), by counsel, herein notices and serves the Pappalardo Opposition To Stevins’

Motion To Dismiss (ECF 17) .Amended Complaint (ECF9-1).

       Introduction – The Plaintiff, Michael F. Pappalardo, (PAPPALARDO), has for over a

period of more than twenty (20) years, been employed in the various technical and management

positions in pharmaceutical industry; and, incident thereto, has acquired experience in delivery

systems (e.g. powders., liquids and aerosols) for administration of pharmaceutically active

compounds. The technology involved in this lawsuit is his invention of a process for converting

an oil (cannabis oil) into a fine dispersible power, while retaining its pharma kinetic properties.

The Defendant, Samantha Stevins, (STEVINS) – an attorney - has a very public interest in the

cannabis industry, Stevins website page “About the Attorney” page annexed hereto as Exhibit

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“A”. When she met PAPPALARDO, STEVINS recognized that his invention could advance her

interests; and, convinced him that she was “connected” to an investor network interested in

technology in the pharma space, which was false.

       The Complaint – The claims against STEVINS are straight forward, she would help him

get the development funds for his invention, and they would jointly exploit his invention. The

development capital from the STEVINS investor network never materialize. In the preliminary

stage of “getting ready to get ready”, PAPPALARDO and STEVINS jointly filed a patent

application, as co-inventors. PAPPALARDO and STEVINS jointly paid the patent attorney and

Patent Office filing fees. STEVINS told PAPPALARDO that the sharing of the patent application

expenses entitled her to be named a co-inventor, which was false.

       The allegations of Amended Complaint are based upon two (2) pedestrian claims: Fraud

(Count I) and Negligent Representation (Count II). Both request the same relief – money damage

in excess of $75,000 – the precise amount to be establish from an economic analysis by valuation

experts, using economic models for exploitation of the PAPPALARDO invention.



                               MEMORANDUM IN OPPOSTION

       Standard of Review - The sufficiency of the Plaintiffs’ Complaint is determined by a

review of the Complaint, in its entirety; and, requires consideration of both text, and the Exhibits

annexed thereto, in determining the adequacy thereof, Miranda v. Ocwen Loan Servicing, LLC,

148 F.Supp.3d 1349, 1353 (DC SD FLA - 2015)

       “When considering a motion to dismiss, all facts set forth in the plaintiff’s complaint ‘are
       to be accepted as true and the court limits its consideration to the pleadings and exhibits
       attached thereto.’ ” Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir.2000)
       (quoting GSW, Inc. v. Long Cty., 999 F.2d 1508, 1510 (11th Cir.1993)). All “reasonable
       inferences” are drawn in favor of the plaintiff. St. George v. Pinellas Cty., 285 F.3d 1334,
       1337 (11th Cir.2002).


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       With respect to compliance at to the compliance with the Rule 8 “notice” requirements, the

text and exhibits, as referenced in the Complaint, need only , provide sufficient “facial

plausibility....that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged”, Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955,

1957 (2007). The cases citing to Twombly have indicated that the “reasonable inference” include

interpretation of the pleadings “in context”.



       I.         Actual Damages Have Been Plead With Sufficient Specificity - Clearly, in the case

of emerging technology, valuation of the PAPPALARDO’s loss of his exclusive right to his

invention, cannot be calculated on the back of a paper napkin; and, PAPPALARDO’s good faith

estimate of his damages in excess of $75,000, is sufficient to put STEVINS on notice of the gravity

of the claim against her, under Rule 8 of the Federal Rules of Civil Procedure.      To the extent

Florida State law conflicts with Rule 8, it should be ignored c.f. McFarland v. Conseco Life Ins.

Co., 2009 WL 3231634 (DC MD Fla 2009), citing Cohen v. Office Depot, Inc., 184 F.3d 1292

(11th Cir 1999)

       II.        Joinder Of Stevins As A :”Joint” or “Co-Inventor” On The Patent Application for

the PAPPALARDO Invention Has Subtantially Diminished The Value Of The PAPPALARDO

Interest In His Own Inventiom – The patent law is clear, and well-know to STEVINS (an attorney),

that each inventor named on patent application can exploit (e.g. commercialize or license the

invention to 3rd parties), without accounting to the other co-inventor, 35 USC §362. Accordingly,

the STEVINS Declaration as a “joint inventor (Exhibit “C” to Amenmded Complaint), creates the

requisite nexus between the fraudulent conduct and the harm or loss alleged to have been suffered




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by PAPPALARDO. This nexus satisfies the requisite harm for both Counts I & II. Accordingly,

the pleading of a Count I & II adequately state a claim for relief.


        In summary, the pleadings adequately apprise STEVINS of the claims asserted against her,

and are sufficient to state a claim for relief.

        On a personal note, I apologize to the Court, and to STEVIN’s counsel, for the inadequacy

of my proof reading of the Amended Complaint. On February 6, 2017, I was involved in a cycling

accident and sustained various injuries, including serious injuries to my lumbar spine. I underwent

surgery on April 24th for a multiple laminectomy, which was marginally successful; and, the

residual effects of the surgery (nerve root trauma), are disruptive of sleep patterns, effecting my

concentration.

                                                              Respectfully,



                                                              /s/ John H. Faro
                                                              John H. Faro, Esq.
                                                              Attorney For Plaintiff
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                                Exhibit “A”




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mysite                                                                   https://www.samanthastevins.com/
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          SAMANTHA STEVINS
          Attorney At Law                              239-300-4417




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed

 electronically, and/or was sent by E-Mail to all counsel or parties of record listed below, not

 otherwise of entitled to receive an electronic copy thereof from the Court, this 6th day of

 September, 2017.

                                                           Respectfully,



                                                           /s/John H, Faro, Esq.
                                                           FBN 527,459
DISTRIBUTION:

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